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December 10, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

       Re: Kadrey, et al v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC

Dear Magistrate Judge Hixson:

         Yesterday, Plaintiffs filed an unauthorized “supplemental” brief (Dkt. 319) relating to the
parties’ joint letter brief regarding redactions (Dkt. 309). Because that brief is procedurally
improper, unpermitted, and unilateral, Defendant Meta Platforms, Inc. (“Meta”) requests leave to
file the attached brief and declaration in response thereto. See Exhibit A.

       Sincerely,




       Teresa Michaud
       Bobby Ghajar
       Kathleen Hartnett
       Phillip Morton
       COOLEY LLP,
       Attorneys for Meta Platforms, Inc.
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                                                 EXHIBIT A

December 10, 2024

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The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

        Re: Kadrey, et al v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC

Dear Magistrate Judge Hixson:
        This letter is submitted pursuant to Defendant Meta Platforms, Inc.’s (“Meta”) request for
leave to respond to Plaintiffs’ “supplemental” brief (Dkt. 319) regarding the parties’ joint letter
brief regarding privilege redactions (Dkt. 309). Plaintiffs’ “supplement” should be stricken as it
violates the Court’s procedures for presenting discovery disputes and was filed without leave of
Court. Plaintiffs also failed to confer with Meta regarding their alleged complaints about Meta’s
recently served privilege log before filing their unilateral “supplement.” Because Plaintiffs have
again violated the Court’s procedures (see Dkt. 279), their brief should be rejected for that reason
alone.
       More troubling, Plaintiffs’ “supplement” also misrepresents the facts. On December 4,
2024, Meta committed to providing Plaintiffs a privilege log by December 6, 2024 regarding the
13 documents challenged in the parties’ joint statement (Dkt. 309). Meta kept that promise. And,
as Meta has repeatedly explained to Plaintiffs, it is preparing privilege logs for its recent and
ongoing discovery productions, and it will provide those by the discovery cutoff. This process is
not automated and requires multiple levels of document-by-document review, including to redact
documents where possible rather than withhold them completely.
        Although Plaintiffs criticize Meta’s privilege log, it is notable that only one of the 13
Plaintiffs (Mr. Farnsworth) has even provided an updated privilege log relating to the recent
productions. And Plaintiffs’ own privilege logs do not satisfy the legally unsupported and
unreasonably high standard they advocate for Meta. See Carhartt, Inc. v. Innovative Textiles, Inc.,
333 F.R.D. 118, 121 (E.D. Mich. 2019) (A party’s “complaint that [the opposing party’s] privilege
log does not give it sufficient information to assess the claimed privilege rings hollow when its
own log is identical.”). Plaintiffs’ descriptions provide far less detail than Meta’s, and for the eight
Plaintiffs represented by Cafferty Clobes, the descriptions were copied verbatim across nearly all
entries. See, e.g., Declaration of T. Michaud, ¶¶ 4-11, Ex. 1 (Joseph Saveri Law Firm privilege
log), Ex. 2 (Cafferty Clobes privilege log).
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        Regardless, Meta has more than met its burden of satisfying Rule 26(b)(5) to “expressly
make” a claim of privilege and to “describe the nature of the documents, communications, or
tangible things not produced or disclosed—and do so in a manner that, without revealing
information itself privileged or protected, will enable other parties to assess the claim.” Fed. R.
Civ. P. 26(b)(5)(A) (emphasis added); see Robinson v. Chefs’ Warehouse, No. 3:15-cv-05421-RS
(KAW), 2017 WL 2895915, at *3 (N.D. Cal. July 7, 2017) (“A party does not have to provide a
description of the subject matter of each document to meet its burden.”). Meta has provided similar
descriptions in privilege logs that were previously challenged and upheld as sufficient. In re Meta
Pixel Healthcare Litig., No. 22-CV-03580-WHO (VKD), 2024 WL 3381029, at *6 (N.D. Cal. July
10, 2024).
        Plaintiffs’ complaint about Meta’s lack of attorneys’ identification is unfounded. Meta has
repeatedly explained that “Legal Source” refers to the attorney(s) who provided legal advice or
were asked to provide legal advice on the documents listed in the privilege log. Where the
attorneys were identifiable by name from the face of the document or its metadata, the individual
names were provided, and where Meta’s in-house legal team was referenced in the document only
by identifiers like “Legal” or “our attorneys,” Meta used the identifier “MPI In-House Legal
Counsel.” Plaintiffs’ demand that Meta identify attorneys by name for each reference to “Legal”
would require Meta to conduct a separate investigation into each of these documents—an effort
that would be entirely disproportionate to the needs of this case and inconsistent with the case
schedule. Courts that have considered privilege assertions by entities with large in-house legal
teams, as here, have found the privilege log sufficient where it identified the client’s in-house legal
team as the attorney(s). See Washtenaw Cnty. Emps.’ Ret. Sys. v. Walgreen Co., No. 15 C 3187,
2020 WL 3977944, at *5 (N.D. Ill. July 14, 2020) (“the fact that these attorneys are not identified
specifically does not defeat the privilege claim or trigger in camera review”).
       Finally, even if Meta’s descriptions were insufficient—and they are not—the appropriate
remedy would be for Meta to conduct any necessary investigation and amend its privilege log, not
in camera review or rejection of privilege.
         Plaintiffs’ “supplement” should be stricken, and their requested relief should be denied in
its entirety.
       Sincerely,


       /s/Teresa Michaud
       Teresa Michaud
       Bobby Ghajar
       Kathleen Hartnett
       Phillip Morton
       COOLEY LLP,
       Attorneys for Meta Platforms, Inc.
